      Case 2:23-cv-02972-MEMF-KS          Document 56 Filed 10/08/24 Page 1 of 7 Page ID
                                                #:511
                                           (KSx),APPEAL,CLOSED,DISCOVERY,MANADR,RELATED-G

                     UNITED STATES DISTRICT COURT
        CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
             CIVIL DOCKET FOR CASE #: 2:23-cv-02972-MEMF-KS


Clinton Brown v. Emil Assentato                                  Date Filed: 04/20/2023
Assigned to: Judge Maame Ewusi-Mensah Frimpong                   Date Terminated: 09/27/2024
Referred to: Magistrate Judge Karen L. Stevenson                 Jury Demand: Plaintiff
Related Case: 2:22-cv-09203-MEMF-KS                              Nature of Suit: 850 Securities/Commodities
Case in other court: 9TH CCA, 24-06119                           Jurisdiction: Federal Question
Cause: 15:77 Securities Fraud

Date Filed      #   Docket Text
04/20/2023      1 COMPLAINT filed by Plaintiff Clinton Brown against Defendant Emil Assentato, Steve
                  Weera Tonasut Trust, Tax Deed Enterprises LLC. Case assigned to Judge Fernando M.
                  Olguin for all further proceedings. Discovery referred to Magistrate Judge Charles F. Eick.
                  Jury Demand. (Attachments: # 1 CV71, # 2 Summons Request 1, # 3 Summons Request 2,
                  # 4 Summons Request 3) (jtil) (Entered: 04/20/2023)
04/20/2023      2 CERTIFICATE of Interested Parties filed by Plaintiff Clinton Brown. (jtil) (Entered:
                  04/20/2023)
04/20/2023      3 APPLICATION for Pro Se Litigant to electronically file documents in a specific case filed
                  by Plaintiff Clinton Brown. (jtil) (Entered: 04/20/2023)
04/20/2023      4 REQUEST to Proceed In Forma Pauperis, Declaration in Support filed by Plaintiff Clinton
                  Brown. (jtil) (Entered: 04/20/2023)
04/20/2023      5 NOTICE OF ASSIGNMENT to District Judge Fernando M. Olguin and Magistrate Judge
                  Charles F. Eick. (jtil) (Entered: 04/20/2023)
04/20/2023      6 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (jtil) (Entered:
                  04/20/2023)
04/20/2023      7 Notice to Counsel Re Consent to Proceed Before a United States Magistrate Judge. (jtil)
                  (Entered: 04/20/2023)
04/28/2023      8 TEXT ONLY ENTRY by Chambers of Judge Fernando M. Olguin. This matter has been
                  assigned to District Judge Fernando M. Olguin. The Court refers counsel to the Court's
                  Initial Standing Order found on the Court's Website under Judge Olguin's Procedures and
                  Schedules. Please read this Order carefully. THERE IS NO PDF DOCUMENT
                  ASSOCIATED WITH THIS ENTRY. (gga) TEXT ONLY ENTRY (Entered: 04/28/2023)
05/04/2023      9 PROOF OF SERVICE Executed by Plaintiff Clinton Brown, upon Defendant Steve Weera
                  Tonasut Trust served on 5/1/2023, answer due 5/22/2023. in compliance with statute not
                  specified by personal service. (iv) (Entered: 05/05/2023)
05/04/2023     10 PROOF OF SERVICE Executed by Plaintiff Clinton Brown, upon Defendant in
                  compliance with statute not specified by personal service. (iv) (Entered: 05/05/2023)
05/10/2023     14 AFFIDAVIT OF NON SERVICE by affiant: Afifa Saljuki. (yl) (Entered: 05/17/2023)
05/10/2023     15 AFFIDAVIT OF NONSERVICE by affiant: Luz Zuta. (yl) (Entered: 05/17/2023)
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                                                #:512
05/15/2023   11 ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 23-05-Related Case-
                filed. Related Case No: 2:22-cv-09203 MEMF(KSx). Case transferred from Magistrate
                Judge Charles F. Eick and Judge Fernando M. Olguin to Judge Maame Ewusi-Mensah
                Frimpong and Magistrate Judge Karen L. Stevenson for all further proceedings. The case
                number will now reflect the initials of the transferee Judge 2:23-cv-02972 MEMF(KSx).
                Signed by Judge Maame Ewusi-Mensah Frimpong (rn) (Entered: 05/15/2023)
05/16/2023   12 TEXT ONLY ENTRY by Judge Maame Ewusi-Mensah Frimpong. This matter has been
                assigned to District Judge Maame Ewusi-Mensah Frimpong. The Court refers counsel to
                the Court's Initial Standing Order found on the Court's website under Judge Frimpong's
                Procedures and Schedules. Please read the Standing Order carefully. It is the
                responsibilities of the parties to maintain familiarly with the Standing Order and any future
                amendments that the Court may issue by periodically checking the Court's website for the
                operative version of the Standing Order. IT IS SO ORDERED. THERE IS NO PDF
                DOCUMENT ASSOCIATED WITH THIS ENTRY. (kd) TEXT ONLY ENTRY (Entered:
                05/16/2023)
05/16/2023   13 ORDER by Judge Maame Ewusi-Mensah Frimpong: GRANTING 3 APPLICATION for
                Pro Se Electronic Filing. The applicant must register to use the Courts CM/ECF System
                within five (5) days of being served with this order. Registration information is available at
                the Pro Se Litigant E-Filing web page located on the Courts website. Upon registering, the
                applicant will receive a CM/ECF login and password that will allow him/her to file non-
                sealed documents electronically in this case only. Any documents being submitted under
                seal must be manually filed with the Clerk. (yl) (Entered: 05/17/2023)
05/18/2023   16 INITIAL DISCLOSURE of DISPUTE RESOLUTION PROGRAM - NO RESPONSE
                FROM DEFENDANT filed by Plaintiff Clinton Brown (Brown, Clinton) (Entered:
                05/18/2023)
05/19/2023   17 Summons Returned Unexecuted filed by Plaintiff Clinton Brown. as to Emil Assentato.
                (Brown, Clinton) (Entered: 05/19/2023)
05/22/2023   18 First NOTICE OF MOTION AND MOTION to Dismiss Defendant Steve Weera Tonasut
                Trust Steven Weera Tonasut, as Trustee, First NOTICE OF MOTION AND MOTION to
                Dismiss for Lack of Jurisdiction Steven Weera Tonasut, as Trustee, First NOTICE OF
                MOTION AND MOTION to Dismiss Complaint ECF#1 Steven Weera Tonasut, as Trustee,
                First NOTICE OF MOTION AND MOTION for More Definite Statement filed by
                Defendant Steve Weera Tonasut Trust. Motion set for hearing on 7/6/2023 at 10:00 AM
                before Judge Maame Ewusi-Mensah Frimpong. (Attachments: # 1 Memorandum i.s.o
                Motion to Dismiss Rule 12, # 2 Exhibit Request Judicial Notice i.s.o. Motion to Dismiss, #
                3 Proposed Order) (Attorney Frederick J Hickman added to party Steve Weera Tonasut
                Trust(pty:dft)) (Hickman, Frederick) (Entered: 05/22/2023)
05/23/2023   19 REQUEST for Entry of Default against Defendants Emil Assentato, Tax Deed Enterprises
                LLC Rule 55(b)(2) filed by Plaintiff Clinton Brown. (Brown, Clinton) (Entered:
                05/23/2023)
05/23/2023   20 NOTICE OF DEFICIENCY Re: The Clerk cannot enter the requested relief as: No proof
                of service/waiver of service on file. (yl) (Entered: 05/24/2023)
05/24/2023   21 TEXT ONLY ENTRY by Judge Maame Ewusi-Mensah Frimpong. The moving party has
                filed a motion for a date that has been closed by this Court. The Court hereby continues the
                Motion to Dismiss for Lack of Standing, Lack of Jurisdiction, Failure to State a Claim,
                under Rules 12(B)(1), 12(B)(6), and 9(B) and/or For A More Definite Statement under
                Rule 12(E) as to the Complaint 18 to 08/24/2023, at 10:00 AM. Counsel shall take notice
                of this new date. Closed motion dates can be found on the Court's website at
                http://www.cacd.uscourts.gov/honorable-maame-ewusi-mensah-frimpong. IT IS SO
     Case 2:23-cv-02972-MEMF-KS Document 56 Filed 10/08/24 Page 3 of 7 Page ID
                 ORDERED. THERE IS NO PDF #:513
                                            DOCUMENT ASSOCIATED WITH THIS ENTRY. (kd)
                 TEXT ONLY ENTRY (Entered: 05/24/2023)
05/24/2023   22 SUPPLEMENT to REQUEST for Entry of Default against Defendants Emil Assentato, Tax
                Deed Enterprises LLC Rule 55(b)(2) 19 Notice of Service Waiver, etc. filed by Plaintiff
                Clinton Brown. (Brown, Clinton) (Entered: 05/24/2023)
05/25/2023   23 Notice Withdrawal of Motion for Entry of Default (Dk. 19, 22). filed by Plaintiff Clinton
                Brown. Appearance of Defendants Counsel (Brown, Clinton) (Entered: 05/25/2023)
06/27/2023   24 Second NOTICE OF MOTION AND MOTION for Entry of Default against
                DEFENDANTS EMIL ASSENTATO, TAX DEED ENTERPRISES LLC Emil Assentato,
                Tax Deed Enterprises LLC FIRST MOTION WITHDRAWN filed by Plaintiff Clinton
                Brown. (Brown, Clinton) (Entered: 06/27/2023)
07/03/2023   25 NOTICE OF DEFICIENCY Re: Second NOTICE OF MOTION AND MOTION for Entry
                of Default against DEFENDANTS EMIL ASSENTATO, TAX DEED ENTERPRISES
                LLC Emil Assentato, Tax Deed Enterprises LLC FIRST MOTION WITHDRAWN 24 . The
                Clerk cannot enter the requested relief as: No proof of service/waiver of service on file. A
                motion is not required for the Clerk to enter Default. (yl) (Entered: 07/03/2023)
07/15/2023   26 First NOTICE OF MOTION AND MOTION to Dismiss for Lack of Jurisdiction of Claim,
                First NOTICE OF MOTION AND MOTION to Dismiss Defendants Emil Assentato, Tax
                Deed Enterprises LLC under Rule 12(B)(1), First NOTICE OF MOTION AND MOTION
                to Dismiss Case under Rule 12(B)(6) filed by Attorney for Defendants Emil Assentato, Tax
                Deed Enterprises LLC. Motion set for hearing on 9/21/2023 at 10:00 AM before Judge
                Maame Ewusi-Mensah Frimpong. (Attachments: # 1 Memorandum i.s.o Motion to
                Dismiss Rule 12, # 2 Exhibit Request Judicial Notice i.s.o. Motion to Dismiss, # 3
                Proposed Order Proposed Order on Motion to Dismiss) (Attorney Frederick J Hickman
                added to party Emil Assentato(pty:dft), Attorney Frederick J Hickman added to party Tax
                Deed Enterprises LLC(pty:dft)) (Hickman, Frederick) (Entered: 07/15/2023)
07/16/2023   27 OPPOSITION to First NOTICE OF MOTION AND MOTION to Dismiss for Lack of
                Jurisdiction of ClaimFirst NOTICE OF MOTION AND MOTION to Dismiss Defendants
                Emil Assentato, Tax Deed Enterprises LLC under Rule 12(B)(1)First NOTICE OF
                MOTION AND MOTION to Dismiss Case under Rule 12(B)(6) 26 RESPONSE filed by
                Plaintiff Clinton Brown. (Brown, Clinton) (Entered: 07/16/2023)
07/17/2023   28 TEXT ONLY ENTRY by Judge Maame Ewusi-Mensah Frimpong: The moving party has
                filed motions for a date that has been closed by this Court. The Court hereby continues the
                First Motion to Dismiss for Lack of Jurisdiction of Claim, Motion to Dismiss Defendants
                Emil Assentato, Tax Deed Enterprises LLC under Rule 12(B)(1), Motion to Dismiss Case
                under Rule 12(B)(6) filed by Attorney for Defendants Emil Assentato, Tax Deed
                Enterprises LLC. 26 to 11/16/2023, at 10:00 am. Counsel shall take notice of this new date.
                Closed motion dates can be found on the Court's website at
                http://www.cacd.uscourts.gov/honorable-maame-ewusi-mensah-frimpong. THERE IS NO
                PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (kd) TEXT ONLY ENTRY
                (Entered: 07/17/2023)
07/21/2023   29 TEXT ONLY ENTRY by Judge Maame Ewusi-Mensah Frimpong. The Court re-sets the
                date of the Motion to Dismiss for Lack of Standing, Lack of Jurisdiction, Failure to State a
                Claim, under Rules 12(B)(1), 12(B)(6), and 9(B) and/or For A More Definite Statement
                under Rule 12(E) as to the Complaint 18 and the Motion to Dismiss, For Lack of Standing,
                Lack of Jurisdiction, Failure to State a Claim, Under Rules 12 (B) (1), 12(B)(6) and 9(B)
                and/or For a More Definite Statement Under Rule 12(E) as to the Complaint filed by
                Defendants Assentato and Tax Deed Enterprises 26 to 09/21/2023 at 10:00 AM. Counsel
                shall take notice of this new hearing date. IT IS SO ORDERED. THERE IS NO PDF
     Case 2:23-cv-02972-MEMF-KS Document 56 Filed 10/08/24 Page 4 of 7 Page ID
                                      #:514THIS ENTRY. (kd) TEXT ONLY ENTRY (Entered:
                 DOCUMENT ASSOCIATED WITH
                 07/21/2023)
07/23/2023   30 OPPOSITION Opposition to Motion to Dismiss Under Rules 12(b)(1), 12(b)(6) and 9(b)
                or Statement Under Rule 12(e). re: First NOTICE OF MOTION AND MOTION to
                Dismiss Defendant Steve Weera Tonasut Trust Steven Weera Tonasut, as TrusteeFirst
                NOTICE OF MOTION AND MOTION to Dismiss for Lack of Jurisdiction Steven Weera
                Tonasut, as TrusteeFirst NOTICE OF MOTION AND MOTION to Dismiss Complaint
                ECF#1 Steven Weera Tonasut, as TrusteeFirst NOTICE OF MOTION AND MOTION for
                More Definite Statement 18 Pursuant to L.R. 7-9 filed by Plaintiff Clinton Brown.
                (Attachments: # 1 Exhibit F.R.E. 803(6))(Brown, Clinton) (Entered: 07/23/2023)
07/24/2023   31 REPLY Reply in support of motion to dismiss First NOTICE OF MOTION AND
                MOTION to Dismiss for Lack of Jurisdiction of ClaimFirst NOTICE OF MOTION AND
                MOTION to Dismiss Defendants Emil Assentato, Tax Deed Enterprises LLC under Rule
                12(B)(1)First NOTICE OF MOTION AND MOTION to Dismiss Case under Rule 12(B)
                (6) 26 filed by Defendants Emil Assentato, Tax Deed Enterprises LLC. (Hickman,
                Frederick) (Entered: 07/24/2023)
07/31/2023   32 REPLY In support of motion First NOTICE OF MOTION AND MOTION to Dismiss
                Defendant Steve Weera Tonasut Trust Steven Weera Tonasut, as TrusteeFirst NOTICE OF
                MOTION AND MOTION to Dismiss for Lack of Jurisdiction Steven Weera Tonasut, as
                TrusteeFirst NOTICE OF MOTION AND MOTION to Dismiss Complaint ECF#1 Steven
                Weera Tonasut, as TrusteeFirst NOTICE OF MOTION AND MOTION for More Definite
                Statement 18 filed by Defendant Steve Weera Tonasut Trust. (Hickman, Frederick)
                (Entered: 07/31/2023)
09/20/2023   33 ORDER ON REQUEST TO PROCEED IN FORMA PAUPERIS by Judge Maame Ewusi-
                Mensah Frimpong. IT IS THEREFORE ORDERED that: The Request is GRANTED. (yl)
                (Entered: 09/22/2023)
09/21/2023   35 MOTION HEARING (Held and Completed) held before Judge Maame Ewusi-Mensah
                Frimpong. Court and counsel confer regarding the Motion to Dismiss for Lack of Standing,
                Lack of Jurisdiction, Failure to State a Claim, under Rules 12(B)(1), 12(B)(6), and 9(B)
                and/or for a More Definite Statement under Rule 12(E) as to the Complaint 18 and the
                Motion to Dismiss for Lack of Standing, Lack of Jurisdiction, Failure to State a Claim,
                under Rules 12(B)(1), 12(B)(6), and 9 (B) and/or For a More Definite Statement Under
                Rule 12(E). The Court takes the matters under submission. A separate Court order shall
                issue. Court Reporter: Myra Ponce. (yl) (Entered: 10/06/2023)
09/26/2023   34 TRANSCRIPT ORDER as to Plaintiff Clinton Brown for Court Reporter. Court will
                contact Clinton Brown at clinton@atlasinc.solar with further instructions regarding this
                order. Transcript preparation will not begin until payment has been satisfied with the court
                reporter. (Brown, Clinton) (Entered: 09/26/2023)
10/20/2023   36 TRANSCRIPT for proceedings held on 09/21/2023 at 10:26 a.m. Court
                Reporter/Electronic Court Recorder: Myra L. Ponce, CSR, RDR, CRR, e-mail address
                myraponce@sbcglobal.net. Transcript may be viewed at the court public terminal or
                purchased through the Court Reporter/Electronic Court Recorder before the deadline for
                Release of Transcript Restriction. After that date it may be obtained through PACER.
                Notice of Intent to Redact due within 7 days of this date. Redaction Request due
                11/13/2023. Redacted Transcript Deadline set for 11/20/2023. Release of Transcript
                Restriction set for 1/18/2024. (Ponce, Myra) (Entered: 10/20/2023)
10/20/2023   37 NOTICE OF FILING TRANSCRIPT filed for proceedings 09/21/2023 at 10:26 a.m. re
                Transcript 36 THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                (Ponce, Myra) TEXT ONLY ENTRY (Entered: 10/20/2023)
     Case 2:23-cv-02972-MEMF-KS           Document 56 Filed 10/08/24 Page 5 of 7 Page ID
                                                   #:515
12/06/2023   38 ORDER GRANTING REQUESTS FOR JUDICIAL NOTICE AND MOTIONS TO
                DISMISS [ECF NOS. 18, 26] by Judge Maame Ewusi-Mensah Frimpong. For the reasons
                stated herein, the Court ORDERS as follows: Tonasut Trust's Request for Judicial Notice
                (ECF No. 18-2) is GRANTED IN PART. The Request is GRANTED as to: Tonasut Trust's
                Document No. 4, Tonasut Trusts Document No. 7, and Tonasut Trusts Document No. 8.
                The Request is DENIED as to: Tonasut Trust's Document No. 1, Tonasut Trusts Document
                No. 2, Tonasut Trusts Document No. 3, Tonasut Trusts Document No. 5, Tonasut Trusts
                Document No. 6, and Tonasut Trust's Document No. 9. Assentatos and TDEs Request for
                Judicial Notice (ECF No. 26-2) is GRANTED IN PART. The Request is GRANTED as to:
                Assentatos and TDEs Document No. 2 and Assentato's and TDEs Document No. 3. The
                Request is DENIED as to Assentatos and TDE's Document No. 1 and Assentatos and
                TDE's Document No. 4 Tonasut Trust's Motion (ECF No. 18) to Dismiss is GRANTED as
                to all Browns claims and all relief Brown requested, on the basis that Brown failed to state
                a claim upon which relief can be granted. Brown is GRANTED LEAVE TO AMEND.
                Assentatos and TDEs Motion to Dismiss (ECF No. 26) is GRANTED as to all Brown's
                claims and all relief Brown requested, on the basis that Brown failed to state a claim upon
                which relief can be granted. Brown is GRANTED LEAVE TO AMEND. Brown is
                ORDERED to file a First Amended Complaint within twenty-eight (28) days of the date of
                this Order if he still desires to pursue any of the claims being dismissed with leave to
                amend. IT IS SO ORDERED. (yl) (Entered: 12/07/2023)
12/21/2023   39 Notice REQUEST FOR JUDICIAL NOTICE filed by Plaintiff Clinton Brown. F.R.E.
                201(c)(2) (Brown, Clinton) (Entered: 12/21/2023)
01/03/2024   40 FIRST AMENDED COMPLAINT against DEFENDANTS All Defendants amending
                Complaint - (Discovery), 1 , filed by Plaintiff Clinton Brown (Attachments: # 1 Exhibit
                Deeds of Trust)(Brown, Clinton) (Entered: 01/03/2024)
01/17/2024   41 Joint NOTICE OF MOTION AND MOTION to Dismiss Case First Amended Complaint
                (ECF 40) filed by Attorney for Defendants Emil Assentato, Steve Weera Tonasut Trust, Tax
                Deed Enterprises LLC. Motion set for hearing on 2/29/2024 at 10:00 AM before Judge
                Maame Ewusi-Mensah Frimpong. (Attachments: # 1 Memorandum Memo Points & Auth.
                iso Motion to Dismiss, # 2 Exhibit Request for Judicial Notice iso Motion to Dismiss, # 3
                Proposed Order Proposed Order on Motion to Dismiss) (Hickman, Frederick) (Entered:
                01/17/2024)
01/19/2024   42 TEXT ONLY ENTRY (IN CHAMBERS) ORDER CONTINUING DEFENDANT'S
                MOTION TO DISMISS THE FIRST AMENDED COMPLAINT (ECF No. 41 ) by Judge
                Maame Ewusi-Mensah Frimpong: The Court, on its own motion, continues the Motion
                from February 29, 2024 to June 6, 2024 at 10:00 a.m. before Judge Maame Ewusi-Mensah
                Frimpong. IT IS SO ORDERED. THERE IS NO PDF DOCUMENT ASSOCIATED
                WITH THIS ENTRY. (dbe) TEXT ONLY ENTRY (Entered: 01/19/2024)
01/28/2024   43 MOTION TO DISMISS OPPOSITION re: Joint NOTICE OF MOTION AND MOTION
                to Dismiss Case First Amended Complaint (ECF 40) 41 Standing Order Section VII(B)
                filed by Plaintiff Clinton Brown. (Brown, Clinton) (Entered: 01/28/2024)
02/05/2024   44 REPLY Reply in support of a motion to Dismiss Under Rule 12(b)(6) and Rule 9(b) as to
                First Amended Complaint (Doc 42) filed by Defendants Emil Assentato, Steve Weera
                Tonasut Trust, Tax Deed Enterprises LLC. (Hickman, Frederick) (Entered: 02/05/2024)
06/04/2024   45 SCHEDULING NOTICE TEXT ONLY ENTRY by Judge Maame Ewusi-Mensah
                Frimpong: The Court, on its own motion, changes the time of Defendant's Motion to
                Dismiss (ECF No. 41 ), currently set for June 6, 2024 at 10:00 a.m. to 2:00 p.m. before
                Judge Maame Ewusi-Mensah Frimpong. IT IS SO ORDERED. THERE IS NO PDF
     Case 2:23-cv-02972-MEMF-KS Document 56 Filed 10/08/24 Page 6 of 7 Page ID
                                      #:516THIS ENTRY. (dbe) TEXT ONLY ENTRY (Entered:
                 DOCUMENT ASSOCIATED WITH
                 06/04/2024)
06/06/2024   46 TRANSCRIPT ORDER as to Plaintiff Clinton Brown for Court Reporter. Court will
                contact Clinton Brown at clinton@atlasinc.solar with further instructions regarding this
                order. Transcript preparation will not begin until payment has been satisfied with the court
                reporter. (Brown, Clinton) (Entered: 06/06/2024)
06/06/2024   47 NOTICE of Change of address Changing attorneys address to Bond University Law
                School Attn: Clinton Brown Student ID: 14012853 14 University Drive Robina QLD 4226,
                Australia. Filed by Plaintiff Clinton Brown. (Brown, Clinton) (Entered: 06/06/2024)
06/06/2024   48 DEFENDANT'S MOTION TO DISMISS FIRST AMENDED COMPLAINT 41 held
                before Judge Maame Ewusi-Mensah Frimpong. For the reasons stated on the record, the
                matter is taken under submission. Order to issue. IT IS SO ORDERED. Court Reporter:
                Laura Elias. (yl) (Entered: 06/07/2024)
07/18/2024   49 TRANSCRIPT for proceedings Court Reporter/Electronic Court Recorder: Laura M. Elias,
                phone number 213-894-0374. Transcript may be viewed at the court public terminal or
                purchased through the Court Reporter/Electronic Court Recorder before the deadline for
                Release of Transcript Restriction. After that date it may be obtained through PACER.
                Notice of Intent to Redact due within 7 days of this date. Redaction Request due 8/8/2024.
                Redacted Transcript Deadline set for 8/19/2024. Release of Transcript Restriction set for
                10/16/2024. (Elias, Laura) (Entered: 07/18/2024)
07/18/2024   50 NOTICE OF FILING TRANSCRIPT filed for proceedings June 6, 2024 at 2:04 p.m. re
                Transcript 49 THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                (Elias, Laura) TEXT ONLY ENTRY (Entered: 07/18/2024)
09/27/2024   51 ORDER GRANTING PLAINTIFF'S REQUEST FOR JUDICIAL NOTICE, DENYING
                DEFENDANTS' REQUEST FOR JUDICIAL NOTICE, AND GRANTING MOTION TO
                DISMISS [ECF NOS. 39 , 41 ] by Judge Maame Ewusi-Mensah Frimpong. For the reasons
                stated herein, the Court ORDERS as follows: Brown's Request for Judicial Notice (ECF
                No. 39) is GRANTED. Defendants' Motion to Dismiss (ECF No. 42) is GRANTED.
                Brown's claims are DISMISSED WITH PREJUDICE. The Clerk of Court is directed to
                close the file. IT IS SO ORDERED. (See document for further details) ( MD JS-6. Case
                Terminated ) (yl) (Entered: 09/27/2024)
09/30/2024   52 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Plaintiff Clinton Brown.
                Appeal of Order on Motion to Dismiss Case,, 51 . (Appeal fee of $605 paid.) (Brown,
                Clinton) (Entered: 09/30/2024)
10/07/2024   53 FILING FEE LETTER issued as to Plaintiff Clinton Brown, re Notice of Appeal to 9th
                Circuit Court of Appeals 52 (car) (Entered: 10/07/2024)
10/08/2024   54 NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and
                briefing schedule. Appeal Docket No. 24-6119 assigned to Notice of Appeal to 9th Circuit
                Court of Appeals 52 as to Plaintiff Clinton Brown. (mat) (Entered: 10/08/2024)
10/08/2024   55 DESIGNATION of Record on Appeal by Plaintiff Clinton Brown re 52 (Brown, Clinton)
                (Entered: 10/08/2024)



                                      PACER Service Center
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              PACER                     #:517
                                        Client
                             clintonbrown36
              Login:                          Code:
                                              Search      2:23-cv-02972-MEMF-KS
              Description:   Docket Report
                                              Criteria:   End date: 10/8/2024
              Billable
                             7                Cost:       0.70
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